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                             IN THE U.S. DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

Janet Morrissey,                             *

       Plaintiff                             *

       v.                                    *       Case No. 1:21-cv-00899-SAG

CES Computer Enhancement                     *
Systems, Inc., et al.
                                             *
       Defendants
                                    *
____________________________________/

                     DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants CES Computer Enhancement Systems, Inc. (“CES”) and Richard Robertson

(“Robertson”), by and through undersigned counsel, file this Memorandum in Support of

Defendants’ Motion for Summary Judgment, and for good cause states as follows:

       I.      INTRODUCTION

       This is an overtime case, arising under the Federal Fair Labor Standards Act, 29 U.S.C. §

201 et seq., brought by a Business Development Manager who worked for Defendant CES, a

computer hardware/software installer and servicer, for a few years. The undisputed evidence is

that Plaintiff, was solely responsible for revitalizing the existing client base and developing new

business for CES, and who provided professional recommendations to Defendant’s clients

regarding their information technology infrastructure and needs, received a predetermined amount

of base compensation which served as a draw against commissions.

       As such, Defendants submit that the Plaintiff is exempt from overtime because she clearly

fits within the commissioned employee working for a retail or service establishment exemption,




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29 U.S.C. § 207(i) (“7(i) exemption”), or she is exempt as an administrative employee under the

so-called white collar exemptions, 29 U.S.C. § 213(a)(1), or is exempt under both provisions.

       II.     STANDARD OF REVIEW

       “Summary judgment is appropriate ‘if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.’ ” Calderon v.

GEICO Gen. Ins. Co., 809 F.3d 111, 120 (4th Cir. 2015) (citing Fed.R.Civ.P. 56(a)). “In FLSA

exemption cases, ‘[t]he question of how [employees] spen[d] their working time ... is a question

of fact,’ but the ultimate question of whether the exemption applies is a question of law.” Id.

(quoting Icicle Seafoods, Inc. v. Worthington, 475 U.S. 709, 714, 106 S.Ct. 1527, 89 L.Ed.2d 739

(1986) and Shockley v. City of Newport News, 997 F.2d 18, 26 (4th Cir.1993)). Exemptions are

to be given a “fair reading,” and are not to be narrowly construed. Encino Motorcars, LLC v.

Navarro, 138 S. Ct. 1134, 1142 (2018) (“Because the FLSA gives no ‘textual indication’ that its

exemptions should be construed narrowly, ‘there is no reason to give [them] anything other than a

fair (rather than a ‘narrow’) interpretation.’ ” (citation omitted)).1 There is no textual requirement

that evidence of an exemption be clear and convincing.




1
         There remains an open question of whether an employer must demonstrate the application
of an FLSA exemption by “clear and convincing” evidence. Blake v. Broadway Servs., Inc., No.
CV SAG-18-0086, 2020 WL 1675954, at *3 (D. Md. Apr. 6, 2020) (“This Court need not address
the issue itself, however, because even under a clear and convincing evidence standard, Broadway
is entitled to summary judgment.”); but see Sanchez Carrera v. EMD Sales, Inc., 402 F. Supp. 3d
128, 146 (D. Md. 2019) (“Multiple courts in this district have continued to apply the ‘clear and
convincing’ standard post-Encino, and this Court sees no reason to depart from that settled law.”).
To the extent that the “clear and convincing” is a heightened evidentiary standard, Defendants
object to application of same but nevertheless contend, at least for purposes of this Motion, that
the facts of this case would satisfy any heightened evidentiary standard.

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       III.    FACTS

       Janet Morrissey received a college degree in business, (Exh. 1; Morrissey Depo.; pg. 65,

lines 5-9), but according to her, the majority of her business training has been by corporation

training programs. (Exh. 1; Morrissey Depo.; pg. 71-72). Morrissey concentrated on marketing,

sales and business development. (Exh. 1; Morrissey Depo.; pg. 72, lines 8-10; pg. 84, line 5-6 (“I

have done business development a lot in my career”); pg. 90-91, lines 16-4). According to

Morrissey, the education and training she received in marketing, sales and business development

has been applied “majorly” throughout her career.       (Exh. 1; Morrissey Depo.; pg. 72-73).

Morrissey’s career has been in business development. (Exh. 1; Morrissey Depo.; pg. 74). She is

an Inc. 500 award winner and in 2009, was number 292 in the world for fastest-growing small

businesses. (Exh. 1; Morrissey Depo.; pg. 252, lines 18-20).

       According to Morrissey, business development is the practice of helping to grow a

company to make more revenue. (Exh. 1; Morrissey Depo.; pg. 80). As an example, Morrissey

contends that business development involves the practice of taking a person who you just repaired

his/her computer and “turn it into selling them updated software, hardware being able to –

maintenance plans, things like that grow their – you know, grow your services.” (Exh. 1;

Morrissey Depo.; pg. 81, lines 13-19). Morrissey provides ideas on how to grow businesses and

implement those ideas. (Exh. 1; Morrissey Depo.; Pg. 82, lines 10-12).

       After working in Colorado with a boyfriend whom she later sued (Exh. 1; Morrissey Depo.;

pg. 244, lines 7-8; pg. 245, lines 3-5), Morrissey returned to the Frederick, Maryland area in

September/October 2018. (Exh. 1; Morrissey Depo.; pg. 125, lines 14-15; pg. 135, lines 11-12).

Morrissey knows a lot of people in Frederick, Maryland. (Exh. 1; Morrissey Depo.; pg. 253, lines




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2-3). She wanted to return and “do something in the business development field.” (Exh. 1;

Morrissey Depo.; pg. 278, lines 7-8).

       Soon after returning,2 Morrissey began working for CES. (Exh. 1; Morrissey Depo.; pg.

134, lines 14-16). Morrissey then began dating Rich Robertson (Exh. 1; Morrissey Depo.; pg. 249,

lines 10-11), who himself was recently divorced and whose wife had previously run CES but who

had now left the company. According to Morrissey, Morrissey “brought to the table a lot of

people” through her personal connections, and she “started introducing [Robertson’s] company to

my people.” (Exh. 1; Morrissey Depo.; pg. 253, lines 5-6, lines 12-15). Robertson desperately

needed help marketing the business and serving existing clientele and building new ones. (Exh.

2; Robertson Depo.; pg. 94). Morrissey claimed that Robertson was not active in the business for

15 years. (Exh. 1; Morrissey Depo.; pg. 582, lines 1-4). Morrissey recalls that when they first

entered discussions, she said to Robertson: “You don’t really know what you need. You don’t

know what we’re doing. Let’s figure it out together. I know I can grow businesses. I’m sure we

can do this.” (Exh. 1; Morrissey Depo.; pg. 286, lines 4-7); (Exh. 2; Robertson Depo.; pg. 113)

(“And I just needed to grow that in of – of the business and I had nobody to do marketing. I had

nobody to do promotions. I had nobody to really make those kind of decisions ‘cause I didn’t

know how to grow a business with marketing and that kind of stuff. I, you know, I was always

just a sales guy. I – I knew cold calling and – and go visit people, but I had no idea how to grow

the business. And Ms. – Ms. Morrissey did.”).

       Morrissey was hired and worked for CES as the “Business Development Manager,” but

she was also listed as “Director, Business Development.” (Exh. 1; Morrissey Depo.; pg. 311-13,




2
      Morrissey testified that “I don’t even think I was back 10 days before I went to work for
CES.” (Exh. 1; Morrissey Depo.; pg. 270, lines 18-20; see also pg. 275, line 6-9).
                                                4
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lines, 21-3). She had done the same sort of work at a previous employer in Colorado (“Avant

Datacom Solutions”) and considered herself fully experienced when she first joined CES, (Exh. 1;

Morrissey Depo.; pg. 339-40, lines 20-10), having sold the same things and engaged in similar

business development in Colorado. (Exh. 1; Morrissey Depo.; pg. 341, line 12-20). In both

positions, Morrissey engaged in business-to-business sales, but CES had more residential sales.

(Exh. 1; Morrissey Depo.; pg. 342, lines 4-5; lines 12-17).

       Morrissey started out her employment by taking all of the marketing material and

redesigning it and putting together a marketing business plan. (Exh. 1; Morrissey Depo.; pg. 318,

pg. 10-11). Morrissey joined the local Chamber of Commerce and began reaching out to her old

customers, using the same strategies and techniques that she had been using for growing companies

“for years.” (Exh. 1; Morrissey Depo.; pg. 318, lines 6-17; pg. 320, line 8-21). Specifically,

Morrissey attended Chamber meetings, leadership meetings, and “banging on doors to all of the

customers” on a “400 list of customers that were my hitlist.” (Exh. 1; Morrissey Depo.; pg. 322,

lines 9-14; pg. 338, lines 1-5 (“started knocking on doors”)). Morrissey did an announcement that

she had started at CES to all of her prior contacts and “tried to put it out there that, hey, I’m back

in town, da, da, da.” (Exh. 1; Morrissey Depo.; pg. 322-23, lines 20-2). Morrissey would create

and prepare presentations for the purpose of marketing CES. (Exh. 1; Morrissey Depo.; pg. 325,

pg. 15-10). In addition, Morrissey sought to revitalize the existing customer base, which she

described as “kind of dead because there hadn’t been a salesperson.” (Exh. 1; Morrissey Depo.;

pg. 323, lines 3-9). Morrissey focused on developing the marketing, and testing it, in October,

November and December of 2018. (Exh. 1; Morrissey Depo.; pg. 337, lines 4-10).

       Morrissey sought to develop CES’ business in many ways. For example, when Morrissey

arrived, computer hardware and software sales were not done as a package deal. Morrissey would



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go to clients and offer A level, B level, and C level plans, and she would put together packages for

clients so that they were not just ordering hardware from a CES tech. (Exh. 1; Morrissey Depo.;

pg. 327, lines 3-14). As a result of her efforts, Morrissey would now be giving clients an actual

plan. (Exh. 1; Morrissey Depo.; pg. 327, lines 3-14).

        Morrissey contends that Robertson was absent from CES mostly. Morrissey states that

Robertson would “help[] where he could. When he was there, he would help where he could.”

(Exh. 1; Morrissey Depo.; pg. 328, lines 6-7). According to Morrissey, Robertson was largely

absent from these tasks, previously leaving the business development to his wife to handle. (Exh.

1; Morrissey Depo.; pg. 329, lines 9-18). Robertson’s chief responsibility was signing contracts

and making payments, as he reserved that authority to himself. (Exh. 1; Morrissey Depo.; pg. 331,

lines 3-4; pg. 332, lines 6-10). Morrissey was not closely supervised nor did she work from any

specific guidelines or manual of operations. (Exh. 2; Robertson Depo.; pg. 113-14, 117, 141-42,

151).

        As part of her marketing plan, Morrissey was instrumental in getting CES designated as a

certified Hewlett Packard (“HP”) reseller. Based on Morrissey’s designation as a certified HP

reseller when she worked in Colorado, and her Inc. award, she applied to HP to become a certified

reseller. (Exh. 1; Morrissey Depo.; pg. 345-346). Morrissey made the recommendation to

Robertson. (Exh. 1; Morrissey Depo.; pg. 346, lines 6-8 (“And I got with Rich, and I said, ’Listen.

You want to be a certified reseller of servers and PCs.’ ”)). According to Morrissey, the principal

benefit of being a certified HP reseller was financial – it allowed CES a term to pay HP, rather

than have to prepay for goods. (Exh. 1; Morrissey Depo.; pgs. 346-347). This helped CES with

cash flow, because it could collect client payment and then pay HP (as opposed to purchase from

HP and then have to collect client payment). (Exh. 1; Morrissey Depo.; pgs. 347-48; pg. .352, lines



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13-18). This created a valuable line of credit for the products that Morrissey was planning on

selling on behalf of CES. (Exh. 1; Morrissey Depo.; pg. 354, lines 18-20).

       Additionally, there was the benefit from a marketing perspective. According to Morrissey,

being a certified HP reseller showed up in internet searches whenever someone searched HP in

Frederick, Maryland, so there was cross-marketing between HP and CES. (Exh. 1; Morrissey

Depo.; pg. 348-49; pg. 352, lines 19-21). Moreover, according to Morrissey, in addition to the

recognition, HP would send leads to CES for business. (Exh. 1; Morrissey Depo.; pg. 349). Being

designated a certified HP reseller gave CES access to HP’s tools, such as HP business

presentations. (Exh. 1; Morrissey Depo.; pg. 351, lines 6-15). This was all due to Morrissey’s

efforts at business development, as it was her idea and she contacted HP and the efforts to get CES

designed as a certified reseller. (Exh. 1; Morrissey Depo.; pg. 349, lines 14-19). Morrissey claims

that the only reason that CES qualified to become a certified HP reseller was because she did HP

sales. (Exh. 1; Morrissey Depo.; pgs. 351-352 lines 18-3 (“And he didn’t qualify on his - like the

business didn’t qualify. They qualified because I did sales prior. And then I said, ‘I’m at CES,

and I’m working for CES. I need them to be an authorized reseller, or else I can’t seller your

product anymore.’ ”)). No one worked with Morrissey on this, and according to Morrissey, this

work was “[v]ery important” to CES. (Exh. 1; Morrissey Depo.; pg. 353, lines 10-13). CES saw

an improvement in sales due to the designation. (Exh. 1; Morrissey Depo.; pg. 354-55, lines 21-

2).

       Aside from her principal task of revitalizing and developing the client base of CES,

Morrissey’s principal job was counseling the clients of CES with respect to their computer and IT

needs. (Exh. 2; Roberson Depo., pg. 141) (Exh. 3; Robertson Decl., ¶ 8). Morrissey acknowledged

that the work she did for CES’ clients was “extremely important” in terms of helping their business



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operations. (Exh. 1; Morrissey Depo.; pg. 431-32, lines 19-8; pg. 435, line 8-10). Morrissey would

go to a client and speak to the client about their needs. (Exh. 1; Morrissey Depo.; pg. 433, line 6-

9). Typically, the client is having a problem with their computers, or they call and say that they

need new computers. (Exh. 1; Morrissey Depo.; pg. 433, lines 9-14). Morrissey would go to one

of CES’ clients and help them determine what products met their needs. (Exh. 1; Morrissey Depo.;

pg. 434, lines 11-18). Morrissey would make recommendations based on client input. (Exh. 1;

Morrissey Depo.; pg. 434-35, lines 19-1 (“And they would say to me what they currently had. And

I’d say, ’Oh, okay. Well, this is the level they want to be at.’ ”)). Morrissey would get a report

from one of CES’ techs, and then she would:

       “call up my HP people because I have engineers I work with at HP. And I say this is the
       specs they’re at. This is the specs I want to go to. What’s the best deal you got? So they
       go to the engineers. You know, I talking to engineer. They – they do their thing and
       recommendation of the levels, you know … [t]hey will do the recommendations. And I
       will be like, ‘Oh, okay. Well, that takes care of the server. Now let me talk to your other
       engineer who takes care of the PC. Let me talk to your other engineer that’s the printer.’
       And I would take that information, and I would put together my proposal.”

       (Exh. 1; Morrissey Depo.; pg. 439-40, lines 11-9).

       The proposals that Morrissey created for CES’ customers would have “A, B and C” level

options, with level “A” being the “cream of the crop.” (Exh. 1; Morrissey Depo.; pg. 441, lines 2-

5; pg. 441, lines 18-19). Proposals could be 100 pages long. (Exh. 1; Morrissey Depo.; Pg. 545,

line 3). Morrissey would then present the proposal, which would include her recommendations.

(Exh. 1; Morrissey Depo.; pg. 442, lines 3-13 (“I make recommendations”)). Morrissey would

share with CES’ customers her knowledge and ideas. (Exh. 1; Morrissey Depo.; pg. 443, lines 7-

8 (“I’d give them ideas of what they’d want”)). Describing her job, Morrissey stated:

       “So I was basically the person that would put the – meet with the people, put the deal
       together, go out and get the deposit, you know, get the signed contract, come back to Rich
       with the check and the contract when he was in. A lot of times, I’d leave [it] on the table



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       outside his office because the door would be locked. And then when he’d come in, he
       would sign off on it and give the check to the admin, and off they went.”

       (Exh. 1; Morrissey Depo.; pgs. 443-44, lines 21-10).

       Morrissey also had duties that were important to the administration of CES and its

compliance with sales tax revenues. Specifically, Morrissey independently managed and analyzed

the sales tax payments of CES, resulting in a sizeable tax refund for CES. (Exh. 1; Morrissey

Depo.; pgs. 445-448).    Morrissey testified that the process of negotiating with the Maryland

Comptroller was “not simple,” (Exh. 1; Morrissey Depo.; pg. 450, line 21), that it prevented the

loss of CES’ sales tax license, (Exh. 1; Morrissey Depo.; pg. 451, lines 4-7), and that it was CPA

level work. (Exh. 1; Morrissey Depo.; pg. 450, line 19-20). Morrissey acknowledged that her

work was an important contribution to CES so that it could sell products. (Exh. 1; Morrissey

Depo.; pg. 453, line 9-12). This project began in 2019 and lasted through the course of her

employment (ending in late 2020). (Exh. 1; Morrissey Depo.; pg. 455-56).

       Morrissey did not record any of her work hours. (Exh. 1; Morrissey Depo.; pg. 524, lines

18-19; pg. 525, lines 15-17). Morrissey claims to have begun working “as early” as 5:30 am and

“as late as” 8:00 pm. (Exh. 1; Morrissey Depo.; pg. 526, lines 8-16). Morrissey claims that she

would start “somewhere between 5:30 and 6:15” and on occasion at 7:00 am. (Exh. 1; Morrissey

Depo.; pg. 528, line 16-18; pg. 539, line 3-4). Morrissey further claims that she would leave the

office “well after dark,” at 8:00 pm or 9:00 pm each night. (Exh. 1; Morrissey Depo.; pg. 539, line

11-13). Morrissey estimates that she worked an average of 28 hours of overtime each week, (Exh.

1; Morrissey Depo.; pg. 536, lines 16-21; pg. 537, lines 7-9), and averaged a 12-hour day. (Exh.

1; Morrissey Depo.; pg. 539-40, lines 20-19).




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       Morrissey was presented an employment agreement by Rich Robertson at the beginning of

her employment. The pertinent part of the employment agreement, at least with respect to

compensation, is as follows:

       Salary:

       Pay will be based on commission as a percentage of net sales profit. The base salary is an
       unrecoverable draw against the salary of $40,000/year. Commission will be paid at a rate
       of 18% of net profit hardware sales and 12% per billable hour rate for service (labor) related
       sales. All yearly service contracts will be based (sic) an expected number of billable hours
       per month. Base salary is based on a minimum 40 hour work week.

       (Exh. 4; Employ. Agrmnt.).

       According to Morrissey, Robertson said that she should not worry and that she would get

the same benefits as “everyone else.” (Exh. 1; Morrissey Depo.; pg. 291, line 17, pg. 292; line 15-

16). Morrissey claims it was presented to her on October 8, 2022, but she did not sign it that day,

but a “few days later.” (Exh. 1; Morrissey Depo.; pg. 296, line 3-5). Morrissey claims that the

$40,000/year was a “base” and not a base salary. (Exh. 1; Morrissey Depo.; pg. 358, lines 9-10).

Morrissey claims that the $40,000 “base” was for her to just “show up with my skill level and my

abilities[.]” (Exh. 1; Morrissey Depo.; pg. 394, lines 4-7). She acknowledged it was for her “to

be in the role of business development.” (Exh. 1; Morrissey Depo.; pg. 397, lines 17-19).

Robertson intended to create a draw salary against commissions earned, which would be

unrecovered by CES in the event Morrissey’s commission calculations were less than her draw.

(Exh. 2; Robertson Depo., pg. 222, 231-32, 234). Morrissey claims that she did not receive a draw

against commissions, but rather a draw against a salary (which Morrissey claims is non-sensical),

(Exh. 2; Morrissey Depo.; pgs. 397-404), but acknowledges she signed the agreement and that the

“document says what it says” (Exh. 1; Morrissey Depo.; pg. 399, line 3-4), and that she did receive




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a base salary of an unrecoverable draw of at least $40,000.00 throughout her employment. (Exh.

1; Morrissey Depo.; pgs. 413-14, lines 12-3).

       Morrissey’s “base” never changed due to number of hours worked or quality of work, (Exh.

1; Morrissey Depo.; pg. 411, lines 10-13; pg. 554, lines 1-5), but rather was increased as her

employment went on. Robertson increased the base, which served as a draw against commissions,

to compensate her for commissions earned. (Exh. 2; Robertson Depo., pg. 353). To Morrissey,

those increases were because she did “great performance.”3 (Exh. 1; Morrissey Depo.; pg. 406,

lines 1-2). For example, in 2018, Morrissey received $1600/biweekly. (Exh. 1; Morrissey Depo.;

pg. 373, lines 4-7). Subsequently, her base draw was increased. In 2020 (Exh. 5; Morrissey

01775/Morrissey Depo. Exh. 3), Morrissey referred to the payment of $1,760.00 to her as “base.”

(Exh. 1; Morrissey Depo.; pg. 362, lines 3-13).

       Morrissey also claims that she received bonuses, in differing amounts, a term that was

undisputedly used in her paychecks. (Exh. 1; Morrissey Depo.; pg. 365, line 2-5; pg. 366, lines

13-15). CES issued payments labeled as bonuses because the Quickbooks program, from which

payroll was run, did not have an entry for commissions (at least at the time).4 (Exh. 2; Robertson

Depo., pg. 258-59; see also pg. 229, 351-52, 356-57). However, Morrissey admitted that bonuses

were the same as commissions. (Exh. 1; Morrissey Depo.; pg. 474, line 15-16). Morrissey had

sales commission reports, which were revised and increased over time. (Exh. 1; Morrissey Depo.;

pg. 427, lines 7-13).   Morrissey even requested her commissions in communications with




3
        Morrissey also claimed that she got a raise because the law required Robertson to give her
a raise due to COVID, (Exh. 1; Morrissey Depo., pg. 412, lines 13-16), which is pure nonsense.
4
        Morrissey received a payroll check providing her a Christmas bonus, but that was not a
typical paycheck paid in the ordinary course biweekly. (Exh. 1; Morrissey Depo.; Pg. 373, pg. 9-
21).
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Robertson and called them a bonus. (Exh. 2; Robertson Depo., pg. 165).5 According to Morrissey,

there “wasn’t a time that I didn’t have a bonus on my check” (Exh. 1; Morrissey Depo.; pg. 437,

lines 12-13).

       IV.      ARGUMENT

                a. Morrissey Clearly Falls Within The 7(i) Exemption Under The FLSA.

       To be entitled to the commissioned salesman exemption, an employer must demonstrate

that: (1) the employee was employed by a retail or service establishment; (2) the employee's regular

rate of pay exceeded one and one-half times the minimum hourly rate; and (3) more than half of

the employee's compensation for a representative period (not less than one month) represented

commissions on goods or services. 29 U.S.C. § 207(i); 29 C.F.R. § 779.412.

       As to the first element, here, there can be no dispute that CES is a retail or service

establishment. A retail or service establishment means “an establishment 75 per centum of whose

annual dollar volume of sales of goods or services (or of both) is not for resale and is recognized

as retail sales or services in the particular industry.” 29 C.F.R. § 779.332. The regulations further

define a retail or service establishment as:

       one which sells goods or services to the general public. It serves the everyday needs of the
       community in which it is located. The retail or service establishment performs a function
       in the business organization of the Nation which is at the very end of the stream of
       distribution, disposing in small quantities of the products and skills of such organization
       and does not take part in the manufacturing process.

       29 C.F.R. § 779.318(a).



5
        In one of the more extreme examples of evasive conduct during her deposition (which was
common), Morrissey insisted that her request to Robertson to pay $1,266 in a bonus was for a
bonus to be paid to a tech, a testimonial claim that she was forced to abandon under cross
examination. (Exh. 1; Morrissey Depo.; pgs. 478-490; compare pg. 479, line 8-9 (“I’m probably
telling him that he needs to bonus the tech on the job” (see also pg. 483, lines 12-18)) with pg.
490, lines 16-19 (Q. So this note on 7 has nothing to do with another technician? It has to do with
you? A. This has to do with me”).
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       Defendants submit that CES, which sells and services computer hardware and software to

the general public, which includes businesses and individuals, and whose work is not resold and

does not involve manufacturing, quite clearly satisfies the first element. See (Exh. 3; Robertson

Decl. ¶1); see also About Computer Enhancement Systems, Inc., COMPUTER ENHANCEMENT

SYSTEMS, https://www.cesitservice.com/About.htm (last accessed Oct. 25, 2022) (describing the

products and services offered by CES, none of which involve manufacturing or resale).

       The second element concerns whether the Morrissey’s regular rate of pay was 1 ½ times

that of the Federal minimum wage of $7.25/hour. In other words, did Morrissey make at least

$10.88/hour? In this case, even though Morrissey claims that she worked 68 hours per week, it is

undisputed that Morrissey earned at least $739.84/week (68 hours x $10.88/hour). See (Exh. 1;

Morrissey Depo.; pg. 373, lines 4-7); (Exh. 1; Morrissey Depo.; pg. 362, lines 3-13). Therefore,

the second element of the exemption is satisfied.

       The third and final element concerns whether at least half of Morrissey’s compensation,

over a representative period, represented commissions on good and services.

       In this case, it cannot be genuinely disputed that Morrissey’s compensation was 100%

commission, over the course of her employment, albeit with a predetermined draw guarantee that

was given to her. (Exh. 4; Employ. Agrmnt.) (“Pay will be based on commission as a percentage

of net sales profit.”). The commission pay plan required Morrissey to be “paid at a rate of 18% of

net profit of hardware sales and 12% per billable hour rate for service (labor) related sales.” (Exh.

4; Employ. Agrmnt.). The base that was paid to Morrissey was an unrecoverable draw against her

commissions in the amount of $40,000/year. (Exh. 1; Morrissey Depo.; pg. 284:13-14).

       The U.S. Department of Labor regulations expressly recognize compensation plans like the

one here as being “bona fide” plans under § 207(i)—i.e., plans involving “straight commission”



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with “advances,” “guarantees,” or “draws.” 29 C.F.R. § 779.413(a)(5). The draw commission

method is similar to straight commission payments, except that the employee is paid a fixed

weekly, biweekly, semimonthly, or monthly “advance,” “guarantee,” or “draw.” Id. At periodic

intervals a settlement is made at which time the payments already made are supplemented by any

additional amount by which his commission earnings exceed the amounts previously paid. Id.

“Provided that the employer's compensation plan is a bona fide plan, any compensation calculated

as commissions according to the plan will count as commissions, even if the amount of

commissions may not equal or exceed the guarantee or draw in some weeks.” Lee v. Ethan Allen

Retail, Inc., 651 F. Supp. 2d 1361, 1365 (N.D. Ga. 2009).

       However, a formula for computing commissions pursuant to which the employee “in fact,

always or almost always earns the same fixed amount of compensation for each workweek (as

would be the case where the computed commissions seldom or never equal or exceed the amount

of the draw or guarantee)” is not a bona fide commission payment plan. 29 C.F.R. § 779.416(c).

       But that is not the case here and Morrissey was compensated pursuant to a “bona fide”

commission plan. It is undisputed that Plaintiff’s pay fluctuated, based on her commission

earnings. (Exhs. 6; DEF 000001-000037, Payroll Detail for 2018, 2019, and 2020). Moreover,

the commission plan was directly proportional to the amount of sales. Morrissey claims that her

pay fluctuated based on her receiving “bonuses,” as opposed to a commission, but this is because

Defendant Robertson was unable to alter the available options for line items on the payroll

program, at first. (Exh. 2; Robertson Depo., pg. 258-59; see also pg. 229, 351-52, 356-57). This

was eventually fixed when Defendants finally hired an accountant and Morrissey’s only variable

pay, aside from a Christmas bonus, was in the form of commissions. Id. Plaintiff’s pay for 2019

of ($1,600.00) and 2020 ($1,760.00) demonstrate that Morrissey was receiving monies greater



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than her commission plan’s unrecoverable draw of $40,000.00. Morrissey does not fall into the

category of workers whose commission plan is a sham, established to avoid payment of overtime.

Lee v. Ethan Allen Retail, Inc., 651 F. Supp. 2d 1361, 1366 (N.D. Ga. 2009) (“the commission

rate in this case passes this ‘smell test.’ Defendant set the commission rate in good faith; the

commission rate was not a superficial attempt to categorize Plaintiff's earnings as commissions in

order to avoid having to pay her overtime compensation.”).

       To be sure, there are disputes between the Morrissey and the Defendants over the

calculation of commissions. For example, Defendant contends that Morrissey identified herself as

the responsible “salesperson” for accounts and transactions that did not rightfully belong to her.

See e.g. (Exh. 2; Robertson Depo., pg. 154-155, 171). Morrissey claims that she had no

administrator access and hence, could not have done that. (Exh. 1; Morrissey Depo.; pg. 618, lines

14-20). Moreover, Morrissey claimed commissions for certain sales even if Defendant just asked

her for minor assistance, such as identifying a cost for a project from a supplier, (Exh. 1; Morrissey

Depo., pg. 615-618), which Defendant disputes. (Exh. 3; Robertson Decl., ¶12). Morrissey seems

to somewhat agrees, but claims that if she engaged in business development, and she created

proposals from raw data, then that was her customer because “I’m not a secretary.” (Exh. 1;

Morrissey Depo.; pg. 607, lines 4-17). Additionally (and this is by no means an exclusive list),

Defendant contends that certain transactions, such as individuals who walk-in and approach the

counter for assistance, are not sales contemplated as “business development” and hence, Morrissey

was not entitled to such sales. (Exh. 2; Robertson Depo., pg. 192-193, 335-336, 388-89).

Morrissey, perhaps not surprisingly, differs in her interpretation of her right to commissions in

such event. (Exh. 1; Morrissey Depo.; pg. 568, lines 5-11) (“I consider it if they walk in there and

they come in the door and they aren’t buying something in the showroom which is hung on the



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wall as a retail product, and they’re asking for business development and assistance, that’s my

customer”).

        And there are other disputes over commissions between the parties. But those disputes are

not material as to whether the commission plan itself is invalid for purposes of Section 7(i) of the

FLSA. Rather, all that is required is that the commission plan be presented in good faith. Lee v.

Ethan Allen Retail, Inc., 651 F. Supp. 2d 1361, 1366 (N.D. Ga. 2009) (“Black's Law Dictionary

defines “bona fide” as ‘made in good faith.’ Courts have applied this definition to the term bona

fide commission rate in Section 207(i).” (citation omitted)). A fair reading of the Section 207(i)

exemption does not allow Courts to find the exemption invalid merely because the employee and

employer have a dispute over whether a commission has been earned. Cf. Encino Motorcars, LLC

v. Navarro, 200 L. Ed. 2d 433, 138 S. Ct. 1134, 1142 (2018) (exemption to be given fair reading;

a narrow construction of the exemption relies on the flawed premise that the FLSA pursues its

remedial purposes “at all costs”). To read otherwise, would render the exemption virtually

meaningless in any commission case, because any case involving a dispute over commissions

would result in the nullification of the exemption. There is no evidence that Congress intended

such a result.

        Accordingly, because the circumstances and compensation of Morrissey’s employment

render her exempt from overtime under the FLSA, judgment may be entered on Plaintiff’s FLSA

and MWHL claims.

                 b. Alternatively, Morrissey Clearly Falls Within The Administrative
                    Exemption Under The FLSA.

        There are three requirements for an employee, such as Morrissey, to be exempt under the

FLSA’s administrative exemption:




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       (1) [Who are c]ompensated ... at a rate of not less than $455 per week ...;6

       (2) Whose primary duty is the performance of office or non-manual work directly related
       to the management or general business operations of the employer or the employer's
       customers; and

       (3) Whose primary duty includes the exercise of discretion and independent judgment with
       respect to matters of significance.

       Calderon v. GEICO Gen. Ins. Co., 809 F.3d 111, 121 (4th Cir. 2015) (alterations in
       original).

       i.      Morrissey Received A Predetermined Amount of Compensation, Sufficient to
               Satisfy the Salary Basis Test.

       As discussed in detail in the previous section, it is undisputed that Morrissey always

received at least $684/week in 2020, and $455/week in 2018 and 2019. It is also undisputed that

Morrissey received a draw payment, every two weeks, which did not depend on the quantity or the

quality of her work. (Exh. 1; Morrissey Depo.; pg. 394:4-7) (“It’s part of your income. It’s

basically for showing up. I will show up with my skill level any my abilities for 40 grand.”); see

also (Exh. 1; Morrissey Depo.; pg. 396:8-12) (“Q: So the $40,000 base was for work performed?

A: It was for representing and being the business development for CES to come and grow their

business.”); (Exh. 1; Morrissey Depo.; pg. 411) (“Q: And you got that every other week regardless

of how many hours you worked; correct? A: Yes, because that was a base.”).

       The only question is whether this payment, characterized by Morrissey as her “draw,”

satisfies the salary basis test of the FLSA. “Per the regulations, an employee is paid on a “salary

basis” if “the employee regularly receives each pay period on a weekly, or less frequent basis, a

predetermined amount constituting all or part of the employee's compensation, which amount is

not subject to reduction because of variations in the quality or quantity of the work performed.’ ”



6
      The US Department of Labor increased the amount of compensation from $455/week to
$684/week, effective January 1, 2020.
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Blake v. Broadway Servs., Inc., No. CV SAG-18-0086, 2020 WL 1675954, at *6 (D. Md. Apr. 6,

2020) (quoting 29 C.F.R. § 541.602(a)) (Gallagher, J.). Morrissey quite clearly testified that her

hours varied significantly, see e.g. (Exh. 1; Morrissey Depo.; pg. 526) (“It’d be as early as 5:30 in

the morning. It’d be as late as, well, we’d have staff meeting at 8:00, so quarter of eight.”), but

except for periodic increases in her draw, Morrissey’s biweekly guaranteed pay remained the same.

(Exh. 1; Morrissey Depo.; pg. 411) (“Q: And you got that every other week regardless of how

many hours you worked; correct? A: Yes, because that was a base.”). Under these circumstances,

Morrissey’s steady biweekly draw pay must be considered a “predetermined amount constituting

all or part of the employee's compensation[.]” 29 C.F.R. § 541.602(a).

       Morrissey is anticipated to complain that her paychecks referred to an hourly rate of pay.

Pg. (Exh. 1; Morrissey Depo.; pg. 553). But this hourly rate of pay was the only way that

Robertson could pay the guaranteed draw in his payroll program; Robertson converted the

guaranteed into a regular rate of pay only because his payroll software was not configured to allow

him to pay a line item “draw” or “salary” until he was able to hire someone that could fix this

problem for him. (Exh. 2; Robertson Depo., pg. 258-59; see also pg. 229, 351-52, 356-57).

       But “[t]he question is not whether an employer has the subjective intention that its

employees be exempt from the FLSA's overtime provisions. Rather, it is whether the employer has

evinced the objective intention to pay its employees on a salaried basis as defined in the Secretary's

regulations.” Klem v. Cnty. of Santa Clara, California, 208 F.3d 1085, 1091 (9th Cir. 2000).

“Furthermore, a payroll accounting system which calculates an exempt employees pay on an

hourly basis does not indicate that the employee was not salaried and, thus, is subject to the FLSA's

minimum wage or overtime wage requirements.” Palazzolo-Robinson v. Sharis Mgmt. Corp., 68

F. Supp. 2d 1186, 1192 (W.D. Wash. 1999). Reference to hourly pay in a paycheck “is not as



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significant as it appears at first glance. The label an employer or a time record furnishes an

employee for internal purposes is not determinative of the employee's status under the FLSA. The

employer's subjective intent is not the litmus test.” Wright v. Aargo Sec. Servs., Inc., No. 99 CIV.

9115 (CSH), 2001 WL 91705, at *7 (S.D.N.Y. Feb. 2, 2001). “[C]ourts generally have rejected

the proposition that an employer's reference to hourly rates in payroll statements affects an

employee's status as a salaried employee.” Martinez v. Hilton Hotels Corp., 930 F. Supp. 2d 508,

523 (S.D.N.Y. 2013); see also 29 C.F.R. § 541.604(b) (“An exempt employee's earnings may be

computed on an hourly, a daily or a shift basis, without losing the exemption or violating the salary

basis requirement, if the employment arrangement also includes a guarantee of at least the

minimum weekly required amount paid on a salary basis regardless of the number of hours, days

or shifts worked, and a reasonable relationship exists between the guaranteed amount and the

amount actually earned.”); see also Blake v. Broadway Servs., Inc., No. CV SAG-18-0086, 2020

WL 1675954, at *7 (D. Md. Apr. 6, 2020) (“The fact that an hourly rate is calculated and paid for

each Plaintiff does not equate to work being performed in a non-exempt status.”). Likewise, the

fact that Defendant’s payroll program forced Defendant to pay Morrissey under a line item titled

“hourly” does not change the fact that for all practical purposes, her bi-weekly base, which never

changed based on the number of hours she worked, was a predetermined amount that satisfies the

salary basis test. The reality of the payment – not its superficial label – should be what controls.

       Nor can the fact that Morrissey received additional commission payments alter the outcome

that Morrissey’s base draw compensation satisfies the salary basis test. 29 C.F.R. § 604(a) (“An

employer may provide an exempt employee with additional compensation without losing the

exemption or violating the salary basis requirement, if the employment arrangement also includes

a guarantee of at least the minimum weekly-required amount paid on a salary basis. Thus, for



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example, an exempt employee guaranteed at least $684 each week paid on a salary basis may also

receive additional compensation of a one percent commission on sales.”).

       Therefore, Morrissey’s compensation satisfies the salary basis requirement as a matter of

law.

       ii.    Morrissey’s Primary Duty Involves Non-Manual Work Directly Related to
              Defendant’s Business Operations and the Business Operations of Defendant’s
              Clients.

       The second element of the administrative exemption requires that Morrissey’s primary duty

“be the performance of work directly related to the management or general business operations of

the employer or the employer's customers. The phrase ‘directly related to the management or

general business operations’ refers to the type of work performed by the employee.” 29 C.F.R. §

201(a). “Work directly related to management or general business operations includes, but is not

limited to, work in functional areas such as … advertising; marketing; … computer network,

internet and database administration; … . Some of these activities may be performed by employees

who also would qualify for another exemption.” 29 C.F.R. § 201(b). “An employee may qualify

for the administrative exemption if the employee's primary duty is the performance of work

directly related to the management or general business operations of the employer's customers.”

29 C.F.R. § 201(c).

       There can be little doubt that Morrissey satisfies this second element. Morrissey’s primary

duties involved developing the business of CES by assisting CES’ clients with a comprehensive

evaluation of their computer, internet, and database administration needs. By her own testimonial

admission, Morrissey was experienced in this work and had a network of potential contacts to

whom she could market CES’ work, while serving to take care of the information technology needs

of CES’ new and old clients. (Exh. 1; Morrissey Depo.; pg. 339-40, lines 20-10); (Exh. 1;

Morrissey Depo.; pg. 341, lines 12-18; line 12-20). Plaintiff was helping CES grow its business
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by helping the businesses of its clients. (Exh. 1; Morrissey Depo.; pg. 431-32, lines 19-8; pg. 435,

line 8-10). By her own testimonial description, Morrissey performs nonmanual office work

involving developing business leads and opportunities for CES. Due to Morrissey’s sole efforts

and initiative, she was able to – over the course of her employment – get CES designated as a

certified HP reseller, which she testified was very important to CES. (Exh. 1; Morrissey Depo.;

Ppg. 345-346); (Exh. 1; Morrissey Depo.; Ppg. 353, lines 10-13). Moreover, Morrissey engaged

in other marketing activities, including creating and updating marketing materials, joining the local

Chamber of Commerce and giving presentations to different groups, and even “knocking on

doors.” (Exh. 1; Morrissey Depo.; pg. 318, lines 6-17; pg. 320, line 8-21; pg. 322, lines 9-14; pg.

338, lines 1-5). This work all fits within the advertising and marketing of CES. Morrissey was

also involved in negotiating with the Comptroller of Maryland regarding Defendant’s sale taxes,

and she helped Defendant navigate those issues and obtained for CES a refund while preventing

the loss of the sales tax license. (Exh. 1; Morrissey Depo.; pgs. 445-448, 450-451). All of this

work obviously relates to Defendant’s business operations.

       But Morrissey’s work was also directly involved in CES’ customers’ business operations,

i.e., the information technology needs of CES’ customers. According to Plaintiff’s own testimony,

Morrissey would meet with CES’ clients and determine what their technology needs were, and

then put together elaborate proposals with options “A, B, and C” levels. All of CES’ customer’s

businesses are dependent, in no small measure, on their computer networks, internet access, and

databases. (Exh. 1; Morrissey Depo.; pg. 327, lines 3-14). Morrissey herself described her work,

in assisting CES’ clients, as “extremely important” in terms of the assistance she provided to CES’

clients. (Exh. 1; Morrissey Depo.; pg. 431-32, lines 19-8; pg. 435, line 8-10)




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       Accordingly, given Morrissey’s work in developing and marketing the business of CES,

and assisting CES’ clients in their computer technology needs, it is obvious that this second

element of the administrative exemption is satisfied.

       iii.    Morrissey Exercised Discretion and Independent Judgment With Respect To
               Matters of Significance.

       The third and final requirement is that Morrissey exercise discretion and independent

judgment with respect to matters of significance. “In general, the exercise of discretion and

independent judgment involves the comparison and the evaluation of possible courses of conduct,

and acting or making a decision after the various possibilities have been considered. The term

‘matters of significance’ refers to the level of importance or consequence of the work performed.”

29 C.F.R. § 541.202(a).

       As the sole Business Development Manager for CES, there can be little doubt that

Morrissey exercises discretion and independent judgment with respect to matters of significance.

Morrissey chose how to develop the business of CES and her techniques for doing so. It was

Morrissey who decided to turn to her business contacts to market CES. (Exh. 1; Morrissey Depo.;

pg. 322-23, lines 20-2). It was Morrissey whose idea it was to get CES certified as an HP reseller

and whose initiative made it happen. (Exh. 1; Morrissey Depo.; pg. 349, lines 14-19). It was

Morrissey who updated marketing materials and literally went knocking on doors and spoke with

people throughout the community. (Exh. 1; Morrissey Depo.; Ppg. 318, pg. 10-11; pg. 322, lines

9-14; pg. 338, lines 1-5). Moreover, it was Morrissey who would meet with clients, obtain

information about their computer systems and data, and then coordinate with HP and come up with

detailed proposals.    (Exh. 1; Morrissey Depo.; Ppg. 434-435; pg. 439-440).              Making

recommendations and presenting options to CES’ customers regarding their technology needs did

not involve well-established procedures or specific standards, and certainly was not secretarial


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work. (Exh. 1; Morrissey Depo.; pg. 607, lines 4-17) (“I’m not a secretary.”). In sum, Morrissey

exercised her motivation and selected her own creative approaches to developing the business of

CES, to revitalize CES’ customer base, which she described as “kind of dead[.]” (Exh. 1;

Morrissey Depo.; pg. 323, lines 3-9). Brown v. Nexus Bus. Sols., LLC, 29 F.4th 1315, 1319 (11th

Cir. 2022) (affirming lower court’s decision that business development managers were exempt

under the administrative exemption; reasoning that “[b]usiness development managers, it seems,

are tasked with building relationships and developing leads—enterprises that require creative

thinking and tailoring to each individual customer”).

       Moreover, Morrissey was – by her own accounts – largely unsupervised. Morrissey

testified that Robertson would “help[] where he could. When he was there, he would help where

he could.” (Exh. 1; Morrissey Depo.; pg. 328, lines 6-7). According to Morrissey, Robertson was

so inactive in the business that he did not have any clients because he had left business

development to his ex-wife. (Exh. 1; pg. 582, lines 1-4; pg. 329, lines 9-18). Robertson’s chief

responsibility was signing contracts and making payments, as he reserved that authority to himself.

(Exh. 1; Morrissey Depo.; pg. 331, lines 3-4; pg. 332, lines 6-10). Morrissey even recalls that

when they first entered discussions, she said to Robertson: “You don’t really know what you need.

You don’t know what we’re doing. Let’s figure it out together. I know I can grow businesses.

I’m sure we can do this.” (Exh. 1; Morrissey Depo.; pg. 286, lines 4-7). A reasonable jury could

only conclude that Morrissey entered her employment with a level of experience and knowledge

that is not typical in an employment relationship. Accordingly, Morrissey exercised her own

discretion and independent judgment, based on her experience in the area of business development

and engaging in business-to-business sales of computer hardware and software, to develop the

business of CES, in no small part because, by Morrissey’s account, she was the only one with the



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knowledge, skills and resources to conduct business development. In short, Morrissey’s efforts in

collecting and analyzing information regarding CES’ customers; determining which hardware and

software solutions best meet the customer's needs and financial circumstances; advising the

customer regarding the advantages and disadvantages of different hardware and software

solutions; and marketing, servicing or promoting CES’ products, particularly based on CES’

certified HP reseller status which Morrissey herself secured based on her own initiative, clearly

renders Morrissey exempt as a matter of law. Cf. 29 C.F.R. § 541.203(b).

       The last issue is whether the work involved “matters of significance.” Clearly this is

satisfied here. Securing customers and developing business for CES is undoubtedly a matter of

significance for CES, because without customers, CES would not be able to function as a business.

Brown v. Nexus Bus. Sols., LLC, 29 F.4th 1315, 1319 (11th Cir. 2022) (“Exercising discretion

over how to secure new customers for General Motors is undoubtedly a ‘matter of significance’

from the perspective of Nexus, whose entire business model is supplying employees for GM's

Operation Conquest program.”). With respect to assisting CES’ customers with their computer

hardware and software needs, it cannot be denied that all businesses (indeed, individuals too) have

been recognized for decades as being heavily dependent on properly functioning computer

hardware and software. Bryant v. Muth, 994 F.2d 1082, 1088 (4th Cir. 1993) (“Society is

becoming increasingly dependent upon computers in virtually every aspect of daily life.”).

Assisting customers with their technology needs would be a core issue in order for a customer to

operate his/her business, and thus, this clearly involves a “matter of significance.”

       Accordingly, because Morrissey satisfies all three elements of the administrative

exemption, Morrissey is exempt from the FLSA’s overtime requirements. Count One, Plaintiff’s

only Federal claim, must be dismissed with prejudice.



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               c. Plaintiff’s Claims Under the Maryland Wage/Hour Law May Be
                  Dismissed.

       “The requirements of the MWHL mirror those of the FLSA. See Md. Code Ann., Lab. &

Empl. § 3-401 et. seq. ‘Thus, [p]laintiff[’s] claim under the MWHL ‘stands or falls on the success

of [his] claim[s] under the FLSA.’ ” Lovo v. Am. Sugar Ref., Inc., No. CV RDB-17-418, 2018

WL 3956688, at *6 (D. Md. Aug. 17, 2018) (quoting Brown v. White's Ferry, Inc., 280 F.R.D.

238, 242 (D. Md. 2012) (quoting Turner v. Human Genome Sci., Inc., 292 F.Supp.2d 738, 744 (D.

Md. 2003)).

       Accordingly, because Morrissey receives commissions, she is exempt from overtime

pursuant to Md.Code. Ann., Lab. & Empl. § 3–403(a)(1), (a)(5), and she is subject to the

commission and administrative exemptions under the MWHL for the reasons stated supra. Count

Two must be dismissed with prejudice.

               d. The Remainder of Morrissey’s Complaints Relate To Her Commission
                  Disputes And Should Be Dismissed For Lack of Supplemental Jurisdiction.

       As this Court recently stated:

       Under 28 U.S.C. § 1367(c), a district court “may decline to exercise supplemental
       jurisdiction” over state claims if, inter alia, the court “has dismissed all claims over which
       it has original jurisdiction,” or, “in exceptional circumstances, there are other compelling
       reasons for declining jurisdiction.” § 1367(c). The Supreme Court has explained that
       district judges should “consider and weigh in each case, and at every stage of the litigation,
       the values of judicial economy, convenience, fairness, and comity in order to decide
       whether to exercise jurisdiction over a case brought in that court involving pendent state-
       law claims.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988). “When the
       balance of these factors indicates that a case properly belongs in state court, as when the
       federal-law claims have dropped out of the lawsuit in its early stages and only state-law
       claims remain, the federal court should decline the exercise of jurisdiction.” Id. (footnote
       omitted); see also United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966)
       (“Needless decisions of state law should be avoided both as a matter of comity and to
       promote justice between the parties, by procuring for them a surer-footed reading of
       applicable law.”).

       Cooke v. Lancelotta, No. CV SAG-22-297, 2022 WL 1027775, at *5 (D. Md. Apr. 5,
       2022).

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       Indeed, “trial courts enjoy wide latitude in determining whether or not to retain jurisdiction

over state claims when all federal claims have been extinguished.” Shanaghan v. Cahill, 58 F.3d

106, 110 (4th Cir. 1995); see also 3D C. Wright, A. Miller, E. Cooper & R. Freer, Federal Practice

& Procedure § 3567.3 (3d ed.2008) (noting that courts apply a presumption that supplemental

jurisdiction should be declined if all federal claims are dismissed before trial because “ordinarily

the court and litigants will have invested little effort on litigating the supplemental claims”)

       Given the justified dismissal of the Federal overtime claim, the Court should decline to

exercise supplemental jurisdiction over the remaining state law commission claims. At the heart

of this case is a dispute brought by an ex-employee who was romantically involved with Defendant

Robertson. When all was well, Plaintiff did not even look at her paystubs because when “Rich

and I were personal together, [] I didn’t really pay attention to money.” (Exh. 1; Morrissey Depo,

pg. 621, lines 3-8). After their falling out, the Plaintiff brought suit alleging a myriad number of

complicated and unsubstantiated claims, requiring a Court to review hundreds of transactions, with

back-and-forth explanations that vary based on the parties’ credibility and motivations. The

commissions claims are a morass of details that Morrissey even refused to testify as to the details

of, and these claims are clearly the tail that wags the FLSA dog. A trial of just the commission

claims alone would be at least 3 full days. Given the lack of a federal question, and the need for

judicial economy, the supplemental claims may be dismissed and refiled in Frederick County

Circuit Court where the case can be rightfully heard with the parties being able to avoid the

duplication of discovery performed in this case. This Court has made no substantive rulings on

any of the commission-related claims and thus this Court has not gained any special familiarity

with those claims. Consequently, dismissing those claims would not result in a substantial

duplication of effort by the Circuit Court of Maryland for Frederick County.

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       V.      CONCLUSION

       Defendants respectfully request that the Court enter Summary Judgment as to Counts One

and Two of Plaintiff’s First Amended Complaint with prejudice, and dismiss the remaining

supplemental claims pursuant to its discretion.

                                      Respectfully submitted,


                                             /s/_____________________
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 1st of November, 2022, a copy of the foregoing Defendants’

Memorandum in Support of Defendant’s Motion for Summary Judgment, along with all Exhibits

and other attachments, was filed via the Electronic Case Filing System (ECF) maintained by the

U.S. District Court for the District of Maryland, and is available for viewing and downloading

from the ECF system.



                                             ________/s/_______________
                                             Jordan S. Liew




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